Case: 1:15-cv-02980 Document #: 150 Filed: 01/17/18 Page 1 of 1 PageID #:1969

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                               Eastern Division

Angel Bakov, et al.
                                        Plaintiff,
v.                                                     Case No.: 1:15−cv−02980
                                                       Honorable Harry D. Leinenweber
Consolidated World Travel, et al.
                                        Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, January 17, 2018:


        MINUTE entry before the Honorable Harry D. Leinenweber: Ruling on motion
hearing held. Motions to compel [145, 146] are granted. Compliance by 1/31/18.
Plaintiff's motion to continue the class certification motion [107] is granted. Plaintiff's
motion for class certification [98] is entered and continued generally. Mailed(maf)




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
